
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-06-413-CV



IN THE INTEREST OF S.A.M., A CHILD



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FROM THE 233
RD
 
DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On January 23, 2007, we notified appellants that the trial court clerk responsible for preparing the record in this appeal had informed the court that arrangements had not been made to pay for the clerk’s record as required by Texas Rule of Appellate Procedure 35.3(a)(2). &nbsp;T
EX.
 R. A
PP.
 P. 35.3(a)(2). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellants, within fifteen days, made arrangements to pay for the clerk’s record and provided this court with proof of payment. &nbsp;



Because appellants have not made payment arrangements for the clerk’s record, it is the opinion of the court that the appeal should be dismissed for want of prosecution. 
 &nbsp;Accordingly, we dismiss the appeal. &nbsp;
See T
EX
. R. A
PP
. P. 37.3(b), 42.3(b).

Appellants shall pay all costs of the 
appeal, for which let execution issue.



PER CURIAM 			





PANEL D: &nbsp;CAYCE, C.J.; LIVINGSTON and DAUPHINOT, JJ. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

DELIVERED: &nbsp;February 22, 2007

FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




